Case 3:19-cv-00240-MMD-CBC Document 1-3 Filed 05/09/19 Page 1 of 5




  EXHIBIT C
Case 3:19-cv-00240-MMD-CBC Document 1-3 Filed 05/09/19 Page 2 of 5




    Financial Industry Regulatory Authority




    March 19, 2019

    Via Overnight Courier and Email (iwalsh(a,alpine-securities.com)

    Joseph Walsh
    Chief Executive Officer
    Alpine Securities Corp.
    39 Exchange Place
    Salt Lake City, UT 84111

    RE:        Alpine Securities Corporation — Notice of Suspension Pursuant to FINRA
               Rule 9552 ("Notice")
    Dear Mr. Walsh:
    NASD Rule 1017(a)(4) requires a member to file an application for approval of a
    "change in the equity ownership or partnership capital of the member that results in
    one person or entity directly or indirectly owning or controlling 25 percent or more of
    the equity or partnership capital."' Further, FINRA Rule 9552(a) provides, in part,
    that FINRA may issue written notice of a resulting suspension to any member who
    fails to provide any material required to be filed pursuant to FINRA Rules, or who
    fails to keep its membership application or supporting documents current.

    FINRA has determined that Alpine Securities Corporation ("Alpine" or "the Firm")
    has failed to comply with NASD Rule 1017(a)(4) because it has not filed required
    materials for a Continuing Membership Application ("CMA"), despite undergoing at
    least two known changes in its ownership structure. Specifically, NASD Rule
    1017(a)(4) mandates that under the circumstances detailed below the Firm was, and
    still is, required to file the materials for a CMA that sought approval before making
    any material changes to its ownership structure.

    On August 31, 2017, Alpine filed an amendment to its Uniform Application for
    Broker-Dealer Registration ("Form BD") reflecting a change in its ownership
    structure. More specifically, the Form BD amendment reflected that: effective August
    2017, the "Man Cub Trust" and the "Pee Pee Pop Trust" each owned "50%, but less
    than 75%," of SCA Clearing LLC ("SCA"), the entity which directly owns 100% of
    the equity interest in Alpine.2 On November 27, 2017, the Firm filed another Form

     ' See also NASD Notice to Members 00-73 (November 15, 2000), stating that a group of individuals
     acting in concert to obtain control of 25 percent or more of the equity or partnership capital of a
     member will be deemed an "entity" for purposes of NASD Rule 1017(a)(4), and as such, will trigger
     the requirement to submit an application to obtain approval of the ownership change.

     2 See relevant excerpt of the Form BD Amendment filed by Alpine on August 31, 2017, showing the
     changes to the indirect owners of the Firm, attached as Exhibit 1. See also email from Chris Frankel on
     behalf of Scottsdale and Alpine Securities Corp. to FINRA, dated September 20, 2017, with attached
Case 3:19-cv-00240-MMD-CBC Document 1-3 Filed 05/09/19 Page 3 of 5


    Joseph Walsh, CEO
    Alpine Securities Corporation
    March 19, 2019


    BD amendment to reflect another change in the indirect ownership of Alpine and
    separately informed FINRA staff orally and in writing of the changes.3 This time, the
    Firm deleted the names of the two trusts noted above as indirect owners - the "Man
    Cub Trust" and the "Pee Pee Pop Trust" - from its Form BD and told FINRA staff
    that six trusts had now each obtained equal ownership interests of approximately 16.7
    percent in SCA.4 The Firm further represented that the trustees of each trust are John
    and Justine Hurry and the beneficiaries of the trust are John and Justine Hurry along
    with their four children.5

    Further, on December 8, 2017, the Firm sought consultation from FINRA's
    Membership Application Program ("MAP") as to whether or not the two ownership
    changes noted above required that the Firm submit a CMA.6 In its letter to MAP,
    Alpine confirmed that, in August 2017, the Man Cub Trust and Pee Pee Pop Trust
    obtained indirect ownership of Alpine in equal parts via their ownership of SCA.
    Then, in November 2017, six separate trusts took over 100% of the ownership of
    SCA in equal parts of approximately 16.7%.7 Based on Alpine's representations,
    FINRA concluded that both ownership changes triggered the provisions of NASD
    Rule 1017(a)(4) and directed the Firm to file a CMA ("the December 12, 2017
    notification letter").8 MAP specifically notified Alpine that it will need to review the




    organizational charts demonstrating the change in the ownership structure, attached as Exhibit 2.
    Neither of these two trusts was ever reviewed or approved by FINRA to hold a 25 percent or more
    equity interest in the Firm.

      See relevant excerpt of the Form BD amendment filed by Alpine on November 27, 2017, attached as
    Exhibit 3. See also emails between Frankel and Eric Levine of FINRA, dated November 17-22, 2017,
    in which Frankel explains the November 2017 ownership change, attached as Exhibit 4.

    4 See Exhibit 3. In his November 21, 2017 email, Frankel states that "... none of the trusts (and hence
     none of the Trustees) need to be disclosed on the Form BD because no [t]rust owns 25% or more of the
     holding companies." Exhibit 4.

     5   See Exhibit 4.

    6 See letter from Alpine to FINRA's Membership Application Program ("MAP") dated November 24,
     2017, attached as Exhibit 5.

      Id. Notably, the Firm did not provide FINRA staff copies of any of the trust agreements that have
     held an ownership interest in the Firm from August 2017 to present.

     8 See Email from Liza Manzo, Senior FINRA MAP Examiner, to the Firm, dated December 12, 2017,
     notifying the Firm of the need to file a CMA, attached as Exhibit 6. In concluding that a CMA is
     required with regard to the second ownership change in which six trusts obtained indirect ownership of
     Alpine in equal part of approximately 16.7 percent, MAP noted its reliance on the guidance published
     in NASD Notice to Members 00-73, supra note 1.


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Case 3:19-cv-00240-MMD-CBC Document 1-3 Filed 05/09/19 Page 4 of 5


    Joseph Walsh, CEO
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    March 19, 2019


    trust documents for all trusts referenced in Alpine's letter so that MAP could
    ascertain the ownership structure of the Firm.9

    In addition to the December 12, 2017 notification letter, FINRA has reminded the
    Firm on at least two other occasions via telephone and email that it was required to
    file the CMAs. I° Despite these notices, the Firm has failed to file any CMA to seek
    the necessary FINRA approval for any of the trusts noted above to own the Firm."

    Accordingly, pursuant to FINRA Rule 9552(c), FINRA is hereby notifying you that
    the Firm's membership with FINRA will be suspended effective on April 10, 2019
    (the "Effective Date") I2 if, by that date, the Firm does not submit the required CMAs.

     Request for Hearing

    Pursuant to FINRA Rules 9552 and 9559, the Firm may request a hearing. The
    hearing request must be in writing and filed with the FINRA Office of Hearing
    Officers within 21 days of this Notice. The hearing request must set forth with
    specificity any and all defenses as to this notice. Please refer to FINRA Rules 9552
    and 9559 for further information regarding relevant procedures. Pursuant to FINRA
    Rule 9559(c)(1), a timely written request for a hearing with the required specificity as
    to any and all defenses will stay the effectiveness of this notice unless the Chief
    Hearing Officer or the Hearing Officer assigned to the matter orders otherwise for
    good cause shown. Hearing requests must be directed to:

                FINRA/Office of Hearing Officers
                1735 K Street, N.W.
                Washington, D.C. 20006

     If the Firm requests a hearing, you should be aware that, pursuant to FINRA Rules
     8310(a) and 9559(n), a Hearing Officer or, if applicable, Hearing Panel may approve,
     modify or withdraw any and all sanctions, requirements, restrictions or limitations
     imposed by this notice, and may also impose any other fitting sanction.




     9   See Exhibit 6.

     I° See email from Robert Ishak of FINRA to Frankel, dated January 29, 2018, attached as Exhibit 7.

     li FINRA staff has made several efforts to obtain the trust documents for the various trusts that have
     held an ownership in Alpine from August 2017 through the present to ascertain who owns the Firm,
     but Alpine has failed to produce any of these documents.

     12   See FINRA Rule 9552(d).


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Case 3:19-cv-00240-MMD-CBC Document 1-3 Filed 05/09/19 Page 5 of 5


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     Alpine Securities Corporation
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     Request for Termination of the Suspension Pursuant to FINRA Rule 9552(f)
     Once a firm has been suspended for failure to file the required CMA pursuant to
     NASD Rule 1017(a)(4), the Firm may still cure the deficiency by filing such
     application within three months of the issuance of this Notice. If the Firm submits the
     required CMA after it has been suspended, but within that three month time period,
     pursuant to FINRA Rule 9552, the Firm also must submit a written request for the
     termination of the suspension on the grounds of full compliance with the Notice. A
     request for termination must be sent under a separate cover to FINRA at the address
     noted below:

            FINRA
            200 Liberty Street, Brookfield Place
            New York, NY 10281
            Attn: Bill Wollman

     Expulsion from FINRA Membership/Default Pursuant to FINRA Rule 9552(h)
     Please be aware that if the Firm is suspended pursuant to FINRA Rule 9552 and fails
     to request termination of the suspension on the grounds of full compliance with this
     Notice, within three months of the date the Notice is issued, the Firm will be
     automatically expelled from FINRA membership. Please refer to FINRA Rule
     9552(h).
     If you have any questions about this notice, please contact me at (646) 315-8565.



     Very Truly Yours,


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     Anand Ramtahal
     Senior Vice President, FINRA

     cc:    Jason Kane, Chief Compliance Officer, Alpine Securities Corp.
            David Brant, Chief Financial Officer, Alpine Securities Corp.
            Alissa Robinson, Senior Director, Membership Application Program
            Rosemarie Fanelli, Senior Director, FINRA Member Supervision
            Ann-Marie Mason, Vice President & Counsel, FINRA Member Supervision
            Meredith MacVicar, Principal Counsel, FINRA Member Supervision
            Eric Levine, Surveillance Director, FINRA Member Supervision
            Robert Ishak, Principal Regulatory Coordinator, FINRA Member Supervision


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